Case 1:01-cv-12257-PBS Document 6208-14 Filed 06/29/09 Page 1 of 34




                      EXHIBIT 12B
                 Case 1:01-cv-12257-PBS Document 6208-14 Filed 06/29/09 Page 2 of 34


                                      Appendix I
                                      Prices for Many TopSelling Prescription
                                      Drugs Are Higher in the United States Than
                                      in the United Kingdom




                                      61 percent) of the 77 drugs were priced more than twice                   as high   in the
                                      United States as in the United Kingdom. (See fig. 1.2.)


Figure 1.1: Range of U.S.4J.K. Drug
Price Differentials                   25   Number of Druga



                                      20



                                      15

                                            11

                                      10




                                       5




                                       0
                                           '1
                                                             0 to     28% to   101% to   201% to   501% or
                                                             25%      100%     200%      500%      MOM

                                                Lower        Higher in U.S.
                                                In U.S.




                                      Page 22                        GAORIEHS-94-29 Prescription         Drug Charges in U.S. and U.K.
               Case 1:01-cv-12257-PBS Document 6208-14 Filed 06/29/09 Page 3 of 34


                                      Appendix I
                                      Prices for Many Top-Selling Prescription
                                      Drugs Are Higher Tn the United States Than
                                      in the United Kingdom




Figure 1.2: Many Drugs Have Factory
Prices Over Twice as High in the
United States as in the United
                                                h                                    ttT&%    More Costly in U.S.
Kingdom
                                                11                                   Less Costly in U.S.




                                                                                     Over 100% (or Twice) More Costly
                                                                                     in U.S.




                                                                                     26% to 100% More Costly in U.S.




                                      The five most commonly dispensed drugs in the United States in 1991
                                      illustrate U.S.-U.K. differentials in factory prices. Amoxil, the most
                                      commonly dispensed drug, cost 40 percent less in the United States than in
                                      the United Kingdom. However, Premarin, Zantac, Lanoxin, and
                                      Xanax-the second, third, fourth, and fifth most commonly dispensed
                                      drugs in the United States, respectively--cost 197,58, 169, and 278 percent
                                      more in the United States than in the United Kingdom. (See table I. 1.)




                                      Page 23                       GAO/HEHS-94-29 Prescription   Drug Charges in U.S. and U.K.
                  Case 1:01-cv-12257-PBS Document 6208-14 Filed 06/29/09 Page 4 of 34


                                                 Appendix I
                                                 Prices lor Many Top-Selling Prescription
                                                 Drugs Are Higher in the United States Than
                                                 in the United Kingdom




Table 1.1: The Five Most Commonly     Dispensed      Drugs Illustrate     Range of U.S.-U-K. Price Differentlab
                                                                                                                    US.         U.K.          Percent
                                    Product/                                                  Therapeutic           unit        unit             price
Rank                                unit                   Manufacturer    or vendor          category             price       price     differencea
1                                   Amoxil,                Beecham                            anti-               $0.165      $0.273              40
                                    250 mg cap                                                infection
2                                   Premarin,              Wyeth-Ayerst                       estrogens            0.276       0.093               197
                                    .625 ma tab
3                                   Zantac,                G kxo                              gastro-              1.228       0.775                58
                                    150 mg tab                                                intestinal
4                                   Lanoxin                Burroughs Wellcome                 cardio-              0.063       0.023               169
                                    .25 ma tab                                                vascular
5                                   Xanax,                 Upjohn                             central               0.519      0.137              278
                                    .5 mg tab                                                  nervous
                                                                                              system
                                                 aPrice difference calculated manually will differ due to rounding.




Price Differentials Persist                      When we extended our analysis beyond the undiscounted market segment
After Adjusting for                              to include other U.S. market segments in which certain buyers (such as
Manufacturers’ Discounts                         mail order pharmacies and some HMOS) receive price discounts, we still
                                                 found U.S.-U.K. drug price differentials that were substantial. (See fig. 1.3.)
                                                 In particular, for the market basket in our study, manufacturers would
                                                 receive (on average, from all market segments) 51 percent more in the
                                                 United States than in the United Kingdom.23(Recall that, by contrast, for
                                                 the factory prices prevailing in the undiscounted market, the complete
                                                 market basket of 77 drugs would cost 60 percent more in the United
                                                 States.)24~26




                                                 ‘This market basket contains 76 drug products, not 77, because for 2 brand-name drugs in our sample,
                                                 price information pertaining to the wider range of market segments was not available.

                                                 %%en the aggregate cost of the 75 drugs was recomputed using WAC as the U.S. price, the differential
                                                 was the same.

                                                 ‘6The nonTAMP price data, which we obtained from the VA, are provided to VA by the drug
                                                 manufacturers and are considered business proprietary data Thus, we could not report the non-FAMP
                                                 prices for individual drug products.



                                                 Page 24                               GAO/HEHS-94-29 Prescription     Drug Charges in U.S. and U.K.
                Case 1:01-cv-12257-PBS Document 6208-14 Filed 06/29/09 Page 5 of 34


                                         Appendix 1
                                         Prices for Many Top-Selling Premription
                                         Drugs Are H&her in the United Stntes Than
                                         in the United Kingdom




Figure 1.3: Large U.S.-UK. Price
Differentials Persist After Accounting   80   Wolghted Average Price Dlfferentlal
for Discounts in Other U.S. Market
Segments                                 70

                                         60

                                         60

                                         40

                                         30

                                         20

                                         10

                                          0




Effect of Replacing U.S.                 Our focus on whether manufacturers   charge higher prices in the United
Brand-Name Prices W ith                  States than in the United Kingdom led us to make price comparisons for
Generic Prices                           brand-name drugs. Generic drugs were beyond the scope of our study
                                         because they are typically manufactured and sold by different, unaffiliated
                                         firms in each country. However, the availability of lower priced generic
                                         drugs could mitigate to some extent the effect of the high prices of
                                         brand-name drugs on the typical consumer.

                                         Although a comprehensive analysis of U.S.4J.K. price differentials for the
                                         broad array of generic drugs sold in the United States is beyond the scope
                                         of this study, we did conduct a limited analysis of the effect on
                                         differentials of including generic equivalents of the drugs in our sample. In
                                         particular, we compared what our market basket of 77 drugs would cost if
                                         U.S. consumers purchased the lowest priced generic product in the 21
                                         cases where generic drugs were available, and if U.K. consumers always
                                         purchased the brand-name product.




                                         Page 25                              GAO/HEHS-94-29 Prescription   Drug Charges in U.S. and U.K.
               Case 1:01-cv-12257-PBS Document 6208-14 Filed 06/29/09 Page 6 of 34

                                 Appendix I
                                 Prices for Many Top-Selling Prescription
                                 Drugs Are Higher in the United States Than
                                 in the United Kingdom




                                 We found that our particular market basket of drugs would still cost
                                 substantially more in the United States than it would in the United
                                 Kingdom, even though most of the lowest priced US. generic drugs cost
                                 less than their brand-name counterparts in the United Kingdom. Even
                                 under the unrealistic assumption that lower priced generic drugs were
                                 unavailable in the United Kingdom but purchased when available in the
                                 United States, the entire market basket of 77 drugs would cost 50 percent
                                 more if purchased in the United States than in the United Kingdom.26
                                 However, substituting the lowest generic price had a substantial impact on
                                 the price differentials of those particular drugs. Whereas 17 of the 21
                                 brand-name prices were higher in the United States than in the United
                                 Kingdom, coincidentally, 17 of the lowest U.S. generic prices were lower
                                 than the corresponding U.K. brand-name prices.


Size of Price Differentials
Associated W ith Several
Factors
Price Differentials Tend to Be   The wide variation in price differentials for brand-name drugs is
Smaller for Newer Drugs          associated with several factors, such as time on the market. Price
                                 differentials tend to be smaller, in general, for brand-name drugs that
                                 entered the U.K. market relatively recently. We found that the 16 drugs in
                                 our market basket that entered the U.K. market between 1986 and 1992
                                 cost 17 percent more in the United States than in the United Kingdom. By
                                 contrast, for the 22 drugs that entered the market between 1980 and 1985,
                                 the price differential is 59 percent; for the 39 drugs introduced before
                                 1980, the differential is 121 percent. (See fig. I.4.)27




                                 %In this analysis, we replaced the U.S. brand-name drugs with their least expensive generic
                                 equivalents. When measuring U.K. prices, however, we did not replace the U.K. brand-name prices
                                 with the prices of U.K. generic substitutes. This procedure minimizes any excess of U.S. prices over
                                 U.K. prices.

                                 27Wefound similar results when we analyzed drug prices for those drugs introduced more recently in
                                 the U.S. market. In particular, we compared the U.S. and U.K. prices of 18 drugs approved for use in
                                 the United States in 1990 and 1991 and introduced to the U.S. market during 1990, 1991,and 1992that
                                 were not among the 200 most widely dispensed drugs in the United States. We found that a weighted
                                 market basket of these drugs would cost 10 percent more in the United States than in the United
                                 Kingdom.



                                 Page 26                             GAO/REHS-94-29 Prescription       Drug Charges in U.S. and U.K.
                Case 1:01-cv-12257-PBS Document 6208-14 Filed 06/29/09 Page 7 of 34


                                       AppendixI
                                       P&es for Bfang Top-Sellin$ Prescription
                                       Drugs Are Hi&er in the United States Than
                                       In the United Kingdom




Figure 1.4: More Recently Introduced
Drugs Have Smaller U.S.-U.K. Price     200   Welghtmd Unit Price Dlffar~tbl
Differentials
                                       160




                                        Time Poriod Drugs Entered U.K. Market




                                       There are two plausible explanations for why drug price differences tend
                                       to be smaller the less time a drug has been on the market. F’irst, U.K.
                                       government restrictions on drug price increases could result in a situation
                                       where any excess of U.S. prices over U.K. prices would widen over time.
                                       For example, if a drug were introduced into the US. and U.K. markets in
                                       the same year and at the same price, a substantial U.S.U.K. price
                                       difference would emerge and increase over time because U.K. government
                                       policies would prevent or restrain price increases while US. prices would
                                       most likely increase each year.

                                       Second, according to a U.K. government official and industry experts in
                                       both countries, pharmaceutical manufacturers have recently adopted a
                                       strategy of charging similar prices for newly launched drugs in different
                                       countries. These experts and officials argue that the new pricing pattern
                                       would lead to smaller price differentials for newer drugs

                                       Available evidence does not allow us to evaluate the relative importance of
                                       either of these two explanations. However, it is worth noting that the two




                                       Page! 27                               GAOIEfEHS-94-29 Prescription   Drug Charges in U.S. and U.K.
              Case 1:01-cv-12257-PBS Document 6208-14 Filed 06/29/09 Page 8 of 34


                                 Appendix 1
                                 Prices for Many Top-Selling Prescription
                                 Drugs Are Higher in the United States Than
                                 in the United Kingdom




                                 explanations have very different implications for the future. The “new
                                 pricing strategy” explanation implies that in the future, after about a
                                 decade of new product introductions, average price differentials will be
                                 considerably smaller. The “government price restraint” explanation,
                                 however, implies that even negligible initial price differentials of new
                                 products will become much larger over time.

Price Differentials Tend to Be   In addition to time on the market, the presence of generic substitutes for a
Larger for Multiple-Source       brand-name drug is associated with variation in price differentials. We
Drugs                            found that price differentials tended to be larger for “multiple sourceD
                                 drugs in our study-brand-name drugs that have (chemically identical)
                                 generic substitutes-than for those brand-name drugs that are single
                                 source-that is, they have no generic substitute. For example, for drugs
                                 that were multiple source in both countries, our market basket cost 125
                                 percent more in the United States than in the United Kingdom, while, for
                                 single-source drugs in the U.S., the market basket was 45 percent more
                                 expensive. Because drugs with generic substitutes have usually been on
                                 the market for longer periods, this finding is consistent with our result that
                                 older drugs have wider price differentials. In addition, this pattern is
                                 consistent with findings from other studies, which suggest that in the U.S.
                                 market, manufacturers of brand-name drugs react to competition from
                                 lower priced generics in a counter-intuitive manner-by increasing prices
                                 on their brand-name products. 28Manufacturers try to differentiate their
                                 products from their rivals’ based on their products’ perceived quality,
                                 brand loyalty, and such “line extensions” as a sustained release form of a
                                 drug. Product differentiation creates a market niche that is likely to be less
                                 responsive to high prices than the niche of consumers who purchase
                                 (lower priced) generics.2g(See fig. 1.5.)




                                 ?3ee. for example, Health Care Financing Administration, Manufacturers’ Prices and Pharmacists’
                                 Charges for Prescription Drugs Used by the Elderly, Health Care Financing Administration,
                                 (Washington, D.C.: June 1990).

                                 ZgWealso found this pattern in our comparison of U.S. and Canadian prescription drug prices. See
                                 Prescription Drugs: Companies Typically Charge More in the United States Than in Canada.



                                 Page 28                            GAOIHEHS-94-29 Prescription      Drug Charges in U.S. and U.K.
               Case 1:01-cv-12257-PBS Document 6208-14 Filed 06/29/09 Page 9 of 34

                                           Appendix I
                                           Prices for Many Top-Selling Prescription
                                           Druga Are Higher in the United States Than
                                           in the United Kingdom




Figure 1.5: Drugs With Multiple
Sources in the United States and the       150   Weighted Unit Price Differenttat
United Kingdom Have Larger U.S.-U.K.
Price Dlfferenttals
                                           125


                                           100


                                            75


                                            50


                                            25


                                             0

                                                     Multiple   Stngte
                                                     Source     Source




Manufacturers’ Costs Are                   Variations in manufacturers’ costs are not the major source for
Not Major Source of Drug                   international drug price differences. This conclusion applies not only to
Price Differentials                        production costs but to the costs associated with marketing, distribution,
                                           and research and development. Pharmaceutical manufacturers’ officials
                                           and industry experts generally cite three reasons to support this
                                           conclusion:

                                       + F’irst, a substantial portion of drug research and development costs is not
                                         allocated to individual drug products in specific countries. Thus, this
                                         portion of manufacturers’ costs could not result in differences in the cost
                                         or price of a given drug between countries.
                                       l Second, although some other costs (such as those associated with
                                         marketing and sales or with regulatory compliance) are allocated to
                                         individual drug products, country-by-country differences in these costs are
                                         not large-at least compared to the magnitude of the differences in prices.
                                       . Third, the costs of production and distribution also are allocated to
                                         specific drug products but make up only a small share of the total cost of
                                         any drug. Even if these costs were to differ greatly, they would not
                                         substantially affect the total cost of a drug or its price. Consequently,
                                         production and distribution costs cannot be a major source of
                                         international price differentials.




                                           Page 29                              GAO/HEW-94-29   Prescription   Drug Charges in U.S. and U.K.
           Case 1:01-cv-12257-PBS Document 6208-14 Filed 06/29/09 Page 10 of 34

                              Appendix I
                              Prices for Many Top-Selling Prescription
                              Drugs Are Higher in the United Statee Than
                              frr the United Kingdom




Government Influence in       Differences in a drug’s price in the two countries are driven by factors that
the U,K Market Restrains      influence how much a manufacturer can charge for a drug in one country’s
U.K. Drug Prices              market versus the other%. In the United States, manufacturers have
                              historically been free to set drug prices based on market conditions.
                              Moreover, the U.S. market for outpatient drugs has lacked, at least until
                              recently, strong forces that restrain what manufacturers can charge.30In
                              the United Kingdom, though, quite different market conditions prevail. The
                              U.K. government, operating within a health system that is publicly
                              financed and publicly run, uses its predominant position as single payer
                              for prescription drugs to exercise concentrated buying power and to
                              achieve lower drug prices.

                              Since 1969, the U.K. government has limited the overaIl profits of the drug
                              manufacturers. If this profit ceiling is not breached, current regulations
                              generally permit a manufacturer to freely set the introductory prices of
                              newly released drugs. Subsequently, however, a drug manufacturer may
                              increase prices only with government consent. Other government-related
                              factors that together may lower average U.K. drug prices include the wide
                              diffusion of information on drugs’ prices and efficacy, the use of
                              reimbursement practices that spur competition between manufacturers of
                              innovative drugs and generics, and the importing of lower priced
                              brand-name products from other European countries.


U.K. Government Lim its       To restrain prescription drug prices, the U.K. government limits drug
Drug Manufacturers’           manufacturers’ profits from sales to the U.K. National Health Service. This
Profits and Price Increases   indirect method of influencing prices has been in place for more than two
                              decades. Since 1969, the U.K. government and pharmaceutical industry
                              have done business under a nonstatutory, voluntary agreement known as




                              mManufacturers in the U.S. market for outpatient drugs have historically faced little countervailing
                              power, either from government regulation (of drug prices) or from private firms and organizations
                              with concentrated buying power. Now, however, some industry experts believe that the U.S. market is
                              undergoing a transformation. For example, in the 1990 Omnibus Budget and Reconciliation Act, the
                              Congress included a provision that drug manufacturers provide rebates to state Medicaid programs
                              based on the discounts (or “best price”) offered to their best customers. In the private sector, HMOs
                              have also begun to exercise more bargaining power and to obtain lower prices for drug products.



                              Page 30                            GAO/HEW-94-29       Prescriptton   Drug Charges in U.S. and U.K.
Case 1:01-cv-12257-PBS Document 6208-14 Filed 06/29/09 Page 11 of 34

                   Appendix I
                   Prices for Many Top-Selling Prescription
                   Drugs Are Higher in the United States Than
                   in the United Kingdom




                   the Pharmaceutical Price Regulation Scheme (PPRS).~‘~~~ Under the PPRS,
                   the U.K. government monitors drug manufacturers’ profits, comparing
                   each company’s profits to a maximum rate of return on capitaI.33W ithin
                   the range of maximum rates of return-currently      17 to 21 percent-each
                   company with saIes to the NHS exceeding SO.5million (or about
                   $740,000) is given its own profit ceiling.3qIf a company’s profits exceed
                   this ceiling, the company must return those excess profits to the NHS or
                   lower the price of its product.36

                   In its pursuit of drug price restraint, the U.K. government combines an
                   indirect method of price restraint-profit    controls-with a direct
                   method-restrictions on manufacturers’ price increases. Under the PPRS,
                   profit ceilings ensure price moderation in generaI without setting the price
                   of any particular drug by government fiat. A manufacturer of a newly
                   released drug is free to set its introductory price, provided that the
                   company’s profits do not exceed its stipulated limit. Thereafter, a
                   manufacturer seeking a price increase must win the approval of the
                   government. The government and the manufacturer negotiate price
                   increases on the basis of their estimates of the revenues needed to achieve
                   the manufacturer’s negotiated profit ceiIing.36




                   31ThePPRS has evolved from a series of voluntary agreements between the U.K. government and the
                   pharmaceutical industry. The first agreement, dating back to 1957,was actually a price regulation
                   scheme. By 1969,the PPRS had emerged as a scheme focusing on overall firm profits rather than on
                   individual drug prices.

                   =‘fhe PPRS is periodically negotiated between the U.K. government and the U.K. association
                   representing the pharmaceutical industry Until recently, the U.K. government and the pharmaceutical
                   industry were operating under the PPRS negotiated in 1986.The pharmaceutical industry and
                   government have reached a new agreement, which took effect on October 1,1993. This agreement, like
                   the 1986 agreement, covers manufacturers’ brand-name products whether on or off patent. It excludes
                   over-thecounter drug products and generic products.

                   =Profit limits for companies with insufficient capital in the United Kingdom are considered in relation
                   to their return on sales.

                   Yl%e control of profits is supplemented by regulations that cap the percentage of sales revenue that
                   can be devoted to some components of cost, notably sales promotion.

                   YThe U.K. government may allow manufacturers to retain additional profits earned on NHS medicines
                   in certain circumstances, such as the launch of a new product or increased efficiencies. Under the
                   1986 PPRS agreement, manufacturers were allowed to retain up to an additional 60 percent of the
                   company’s profit ceiling; under the new agreement, manufacturers can retain only an additional 25
                   percent of the company’s profit ceiling.

                   3BTheagreement between drug manufacturers and the U.K. government was recently renegotiated.
                   While manufacturers are still free to set introductory prices for new products, under the new
                   agreement prescription drug prices in the U.K. were cut by 2.6 percent. This cut will remain in effect
                   for 3 years, beginning October 1, 1993.


                   Page 31                              GAOIHEHS-94-29 Prescription       m     Charges in U.S. and U.K.
           Case 1:01-cv-12257-PBS Document 6208-14 Filed 06/29/09 Page 12 of 34


                                  Appendix I
                                  Prices for Many Top-Selling Prescription
                                  Drugs Are Higher In the United Stntee Than
                                  in the United Kingdom




Other Factors in U.K.             We observed several other factors present in the U.K. pharmaceutical
Market May Restrain               market that may help lower average U.K. brand-name drug prices by
Prescription Drug Prices          spurring greater price competition between the manufacturers of
                                  brand-name drugs and manufacturers of generic products. These factors
                                  largely reflect actions taken by the U.K. government. Although none of the
                                  following factors in isolation appears to affect drug prices substantially,
                                  together they encourage price-sensitive buying in the U.K. market and
                                  cumulatively could exert downward pressure on brand-name drug prices.

                            l     The availability to U.K. physicians of comparative information on drug
                                  price and efficacy fosters competition. Since the late 198Os,the U.K
                                  government has undertaken two initiatives that increase physicians’
                                  awareness of drug prices and stiffen physicians’ incentives to prescribe
                                  cost-effective medication. In 1988, the U.K. government introduced the
                                  Prescribing Analyses and Cost System to provide each physician with
                                  information on the volume and cost of the medications he or she
                                  prescribed. In addition, each physician receives comparable data on the
                                  average prescribing practices of physicians in general. To supplement this
                                  system, in 1991 the U.K. government established the Indicative Prescribing
                                  Scheme (IPS), with the aim of reducing drug outlays and improving the
                                  appropriate prescription of drugs. Under the 1ps,physicians are given a
                                  prescribing benchmark (known as an indicative amount of prescribing),
                                  which is used in evaluating the overall cost of their prescribing. In
                                  addition, the U.K. government established a variety of physician
                                  educational programs to improve the cost effectiveness and quality of
                                  physicians’ prescribing practices.37

                                  By requiring that U.K. physicians select drugs on the basis of price as well
                                  as efficacy, the government increases downward pressure on U.K. drug
                                  prices. U.K. physicians must consider a drug’s price reasonable, or its
                                  manufacturer risks losing business to manufacturers of less expensive
                                  drug products. In general, the more price sensitive physicians are, the
                                  greater the incentive for manufacturers to price drugs more moderately,

                                + The U.K. government promotes the use of lower priced drugs through its
                                  reimbursement practices. Through elements of its drug reimbursement

                                  37Tomonitor physlcums’prescribing patterns, the NHS also has advisers located throughout the United
                                  Kingdom. For those physicians who, compared to the average physician, write many more
                                  prescriptions (or many more prescriptions for expensive drugs) and who, therefore, exceed their
                                  indicative amounts, NHS advisers use peer influence to persuade them to modify their prescribing
                                  behavior. If persuasion fails to produce sufficient change, the NHS can require the physician to pay
                                  back the amount by which individual prescriptions are deemed to be excessive. The ultimate sanction
                                  is termination of the physician’s contract, which in effect would put the typical U.K. physician out of
                                  business.



                                  Page 32                             GAO/HEHS-94-29 Prescription       Drug Charges in U.S. and U.K.
Case 1:01-cv-12257-PBS Document 6208-14 Filed 06/29/09 Page 13 of 34


                   Appendix I
                   Prices for Many Top-Selling Prescription
                   Drugs Are Higher in the United States Than
                   in the United Kingdom




                   policy, the U.K. government fosters competition between the
                   manufacturers of innovative and generic drugs to achieve lower drug
                   prices. For example, with its 1985 introduction of the Selected List
                   Scheme, the government restricted the number of drugs for which it would
                   allow reimbursement by NHS. The restrictions were applied in seven
                   therapeutic categories: analgesics for use for mild or moderate pain,
                   indigestion remedies, laxatives, vitamins, cold and cough remedies, tonics,
                   and benzodiazepine tranquilizers.38 This scheme also limited the
                   reimbursement price for drugs that remained on the Selected List. Finally,
                   in conjunction with the Selected List Scheme, the government established
                   an advisory committee of medical and pharmaceutical experts; its mission
                   is to review the price and efficacy of newly released drugs in the seven
                   therapeutic categories.

                   The use of the Selected List exerts downward pressure on manufacturers’
                   prices for drugs in the restricted categories and encourages the purchase
                   of generic products. For a manufacturer of a drug in one of these
                   categories to gain, or retain access to, the U.K. market, its prices must be
                   accepted by the advisory committee. If a manufacturer refuses to sell its
                   drug at a price the committee considers reasonable, the U.K. government
                   can refuse to reimburse that manufacturer’s product.39

                 t Parallel importing in Europe allows U.K. wholesalers and retailers to
                   import brand-name drug products from other European countries where
                   the identical drugs are available at lower prices. According to U.K.
                   government officials and industry experts, some LJ.K+wholesalers and
                   retailers import drugs from European countries, such as Belgium and
                   France, where factory prices of the identical drugs may be 20 to 30 percent
                   below the factory price in the United Kingdom. This practice-known as
                   parallel importing-may exert downward pressure on prices of some
                   brand-name drugs, contributing to lower average U.K. drug prices.
                   Government officials and industry experts estimated that, during 1992,
                   drugs available through parallel importing represented only 8 to 12 percent


                   %i the fall of 1992, the U.K. government announced pIans to extend the Selected List to include drugs
                   in 10 more therapeutic categories, including antidiarrheal drugs, drugs for allergic disorders, hypnotics
                   and anxiolytics, appetite suppressants, drugs for vaginal and vulval conditions, contraceptives, drugs
                   used in anemia, topical antirheumatics, drugs for the ear and nose, and drugs for the skin. This
                   extension of the Selected List was expected to be phased in during the fall of 1993.

                   38TheSelected List consists of a black list that contains nonreimbursable products (drugs not on the
                   black list are assumed to be reimbursable). Under the Selected List Scheme, if a manufacturer’s
                   product offers little therapeutic advancement and the manufacturer refused to se11its product at a
                   price the advisory committee deemed reasonable, the product would be placed on the black list of
                   nonreimbursable products. However, if a manufacturer submitted a price that the advisory committee
                   deemed reasonable, the product would be reimbursable.


                   Page 33                             GAO/BEHS-94-29 Prescription         Drug Charges in U.S. and U.K.
          Case 1:01-cv-12257-PBS Document 6208-14 Filed 06/29/09 Page 14 of 34


                             Appendix I
                             Prices for Many Top-Selling Prescription
                             Drugs Are Higher in the United Strtes Than
                             in the United Kingdom




                             of the U.K. market for drugs, However, this percentage is expected to
                             increase.


Implications of U.K.-Style   Although government regulation has restrained drug prices in the United
Government Regulations in    figdw the ~~~~~~~~~        -and the desirability-of similar intervention in
U.S. Market Unclear          the U.S. pharmaceutical market are unclear. The United Kingdom’s
                             experience, like Canada’s, provides an example in which government
                             action restrains drug prices. Considerable uncertainty remains, however,
                             as to whether the methods used in the United Kingdom to restrain drug
                             prices would have similar results in the United States.

                             hrdustry representatives and government officials have credited the U.K.‘s
                             profit-control regulations with restraining drug prices. Notwithstanding its
                             apparent effectiveness, however, the particular system used in the United
                             Kingdom may not be readily transferrable to the United States because of
                             institutional differences between the two countries. Specifically, because
                             NHSrepresents virtually a single buyer for prescription drugs, it has the
                             bargaining power to make and enforce the voluntary PPRSagreement with
                             the industry. In the United States, where buying power is more
                             fragmented, such an agreement would be more difficult to reach. In
                             addition, the effects of a price reduction in the U.K. market may differ
                             from the effects of a similar price reduction in the United States. In
                             comparison with the United States, U.K. pharmaceutical outlays represent
                             a relatively small share of the worldwide market. Consequently, a
                             reduction in U.S. drug prices would depress manufacturers’ revenues to a
                             greater degree than would a similar price reduction in the United
                             Kingdom.

                             In addition, the desirability of lower drug prices-beneficial to consumers
                             and public insurance progr -must          be weighed against the possible
                             consequences of such prices for the domestic industry and for research
                             and development. Critics of drug price regulation claim that it would
                             reduce research and development, thereby limiting the availability of new
                             drugs. Proponents of regulation dispute this conclusion; they see the
                             industry’s high profits and marketing expenses as cushions that could
                             absorb price reductions. The debate over the potential effects of drug
                             price regulation-particularly    the contention that higher drug prices
                             encourage pharmaceutical research and development-cannot be resolved
                             solely by referring to U.K. drug prices, In any case, this larger issue is
                             beyond the scope of this study.




                             Page 34                        GAO/HEW-94-29   Prescription   Drug Charges in U.S. and U.K.
Case 1:01-cv-12257-PBS Document 6208-14 Filed 06/29/09 Page 15 of 34




                   Page 3 6            GAOMEHS-94-29 Prescription   Drug Charges III U.S. and U.K.
              Case 1:01-cv-12257-PBS Document 6208-14 Filed 06/29/09 Page 16 of 34
Appendix II

Differences in Manufacturers’ U.S. and U.K.
Prescription Drug Prices (May 1,1992)


                                 RenlC                Product                       Manufacturer      or vendor
                                 181                 Achromycin      V              Lederle
                                 1                   Amoxil                         Beecham
                                 65                  AnaproxC                       Syntex
                                 94                  Atrvan                         Wyeth-Ayerst
                                 96                  Atrovent                       Boehringer lngelheim
                                 125                 Axid                           Lilly
                                 133                  Bactroban                     Beecham
                                 93                   Buspar                        Mead Johnson
                                 16                   Capoten                       Squibb
                                 152                  Catapres                      Boehringer     lngelheim
                                 7                    Ceclor                        LiUy
                                 63                   Ceftin                        Allen & Hanburvs
                                 25                   Cipro                         Miles
                                 142                  Cleocin T                     Upiohn
                                 185                  Clinoril                      MSDQ
                                 163                  Compazined                    SKF”
                                 90                   Corgard                       Bristol Labs
                                 135                  Dolobid                       MSDQ
                                 53                   Duricef                       Mead Johnson
                                 14                   Dvazided                      SKF


                                 104                  Eryc                          Parke-Davis
                                 141                  Ervthrocin Staerate           Abbott
                                 58                   Estraderm                     Ciba
                                 45                   Feldene                       Pfizer
                                 47                   Glucotrol                     Roerio
                                 50                   Hismanale                     Janssen
                                 98                   Hytrin                        Abbott
                                 41                   lnderal                       Wyeth-Ayerst
                                 106                  lsoptin                       Knoll
                                 159                  Keflex                        Dista
                                 101                  Klonopin                      Roche
                                 4                    Lanoxin                       Burrow    hs Wel lcome
                                 32                   Lasix                         Hoechst-Roussel
                                 168                  Loestrin 21’                  Parke-Davis

                                 42                   Lopid                         Parke-Davis



                                                                                                                    1
                                 Page 36              GAO/HEHS-94.29 Preecription   Drug Charges in U.S. and U.K.   I
                       Case 1:01-cv-12257-PBS Document 6208-14 Filed 06/29/09 Page 17 of 34


                                         Appendix II
                                         Diirerences in Manufacturera’ U.S. and U.K.
                                         Preecription Drug Prices (May 1,1992)




                                                                                      U.K. Unit           U.S. Unit               Percent
Therepeutic       cateoow                          Strennth        Form                   DthX!               price          differenceb
tetracyclines                                       250 mg         capsule                0.077              0.029                -62.29
penicillins                                         250 mg         capsule                0.273              0.165                -39.73
non-steroidal     anti-inflammatorv                 275 mu         tablet                 0.227               0.561               147.23
benzodiazepines                                        1 f-w       tablet                 0.041              0 516              1,154.26
anticholinergic                                18/20 mcg           inhaler                0.658               1.391               111.45
misc. aastro-intestinal                             300 ma         caosule                1.510              2.143                  41.94
antibiotics                                                   2%   ointment               0.425              0.712                  67.47
misc. anxiolytics                                      5ma         tablet                 0.500              0.421                -15.85
cardiac                                               25 ma        tablet                 0.336              0.479                  42.45
hypotensive                                           .l mg        tablet                 0.100              0.387                285.86
cephalosporins                                      250 rng        capsule                0.739               1 527               106.47
ceohalosoonns                                       250 ma         tablet                 1.407              2.290                  62.79
quinolones                                          250 mg         tablet                 1.172              2.033                  73.38
antibiotics                                                   1%   top,so1.               0.315              0.277                -12.02
non-steroidal     anti-inflammatory                 200 ma         tablet                 0.338              0.847                150.75
tranquihzers                                          10mg         tablet                0.058               0.610                945.34
cardiac                                              40 mu         tablet                 0.291              0.704                141.52
non-steroidal     anti-inflammatory                 250 mg         tablet                 0.141              0.691                390.23
cephaiosparins                                      500 mg         capsule               0.518               2.239                331.77
diuretics                                          50125 mg        caosule               0.122               0.270                122.39
antidepressants                                      25 mg         tablet                0.040               0.276                596.92
erythromycins                                       250 mg         capsule               0.326               0.289                -11.34
erythromycins                                       250 mg         tablet                0.174               0.110                -36.88
estrogens                                           50 mcg         patch                  1.456               1.583                  8.72
non-steroidal     anti-inflammatory                  20 mg         capsule               0.495               1.830                269.48
sulfonyloreas                                          5 mg        tablet                0.092               0.252                173.81
antihlstamines                                        IO mg        tablet                0.297               1,327                346.73
hypotensrve                                           2mg          tablet                0.718               0.830                  15.58
cardiac                                              40 mg         tablet                0.038               0.374                871.62
cardiac                                              80 mg         tablet                0.147               0.349                138.24
cephalosporins                                      250 mg         capsule               0.199               0.977                390.29
benzodiazepines                                        2 mg        tablet                0.144               0.759                427.52
cardiac                                              .25 mg        tablet                0.023               0.063                168.70
diuretics                                            40 mg         tablet                0.068               0.145                112.12
contreceptives                                      1.5 mg/        tablet                0.094               0.844                800.25
                                                    30 mcg
antllipemic                                         600 mg         tablet                0.780               0.754                 -3.43
                                                                                                                            (continued)



                                         Page 37                            GAO/HEHS-94-29 Preecription    Drug Charges in U.S. and U.K.
Case 1:01-cv-12257-PBS Document 6208-14 Filed 06/29/09 Page 18 of 34


                   Appendix II
                   Differences    in Manufacturers’ U.S. and U.K.
                   Prescription   Drug Prices (May 1,1992)




                   Ranlr’                             Product                           Manufacturer      or vendor
                   23                                 Lopressor                         Geigy
                   74                                 Lotfisone                         Schering
                   71                                 Macrodantin                       Norwich-Eaton
                   192                                Medrol                            Upjohn
                   179                                Minocind                          Lederle
                   69                                 Motrin                            Upjohn
                   13                                 Naprosyn                          Syntex
                   198                                Nizoral                           Janssen
                   131                                Nolvadex                          ICI’
                   122                                Nordette                          Wyeth-Ayerst
                   150                                Noroxin                           MSDg
                   107                                Orudis                            Wyeth-Ayerst
                   54                                 Pepcid                            MSDQ
                   140                                Persantine                        Boehringer     lngelheim
                   184                                Premarin Vaoinal                  Wyeth-Ayerst
                   2                                  Premarin                          Wyeth-Ayerst
                   200                                Propine                           Allergan
                   26                                 Provera                           Uoiohn
                   18                                 Prozac                            Dista
                   191                                Questran                          Bristol Labs
                   100                                Retin-A                           Ortho
                   146                                Rogai ne                          Upjohn
                   124                                Sinemet                           DuPont
                   118                                Suprax                            Lederle
                   19                                 Tagamet                           SKF”
                   80                                 Teoretol                          Geinv
                   164                                Tenoretic                         ICI’
                   12                                 Tenormin                          ICI’
                   60                                 Timoptic                          MSDg
                   173                                Tobrex                            Alcon
                   77                                 Trental                           Hoechst-Roussel
                   155                                Tri-Norinyl                       Syntex
                   37                                 Triphasit                         Wyeth-Ayerst
                   57                                 Valium                            Roche
                   10                                 Vasotec                           MSDQ
                   114                                Ventolin Syrup                    Allen & Hanburys
                   34                                 Voltaren                          Geioy
                   5                                  Xanax                             Upjohn



                   Page 38                            GAO/HEW-94-29      Prescription   Drug Charges in U.S. and U.K.
                       Case 1:01-cv-12257-PBS Document 6208-14 Filed 06/29/09 Page 19 of 34


                                         Appendix II
                                         Differencea in Manuf’acturers’ U.S. and U.K.
                                         Preeeription Drug Prices (May 1,1992)




                                                                                        U.K. Unit            U.S. Unit               Percent
Therapeutic       category                         Strength         Form                    price                price          differenceb
hypotensive                                           50 mg         tablet                  0.091               0.384                321.79
antifungals                                            l-.05%       cream                   0.364               0.797                119.25
urinary anti-infect.                                 100 mo         capsule                 0.273               0.891                226.67
adrenals                                              16 mg         tablet                  0.746               0.951                  27.48
tetracyclines                                       100 mg          capsule                 1.028                1.821                 77.07
non-steroidal     anti-inflammatory                 400 mg          tablet                  0.081               0.149                  84.26
non-steroidal     anti-inflammatory                 375 mg          tablet                  0.293               0.724                146.90
antifungal                                                    2%    cream                   0.199               0.541                172.70
antineoplastic                                        1Omg          tablet                  0.323                I.106               242.43
contraceptives                               .15/0.03 mg            tablet                  0.046               0.836              1,712.OO
urinary anti-infect.                                400 mg          tablet                  0.750                1.827               143.45
non-steroidal     anti-inflammatory                  50 mo          capsule                 0.713               0.759                574.08
misc. gastro-intestinal                               20 mg         tablet                  0.782                1.080                 38.16
vasodilating                                          25 mg         tablet                  0.059               0.229                288.95
estrogens                                    .6X mchm               cream                   0.081               0.528                555.55
estrogens                                           ,625 mg         tablet                  0.093               0.276                196.59
mydriatics                                                    .l%   ophth.                  0.764                1.940               153.82
progestins                                             5mg          tablet                  0.201               0.394                 95.61
antidepressants                                      20 mg          capsule                 1.670               1.608                 -3.69
antilipemic                                            W-           powder                  0.653               0.956                 46.38
cell stimulants                                          .05%       cream                   0.157               0.811                416.34
misc. skin & mucous                                           2%    topsol.                 0.521               0.744                 42.76
unclassified     therap.                      25/l 00 mg            tablet                  0.197               0.494                151.23
cephalosporins                                      200 mg          tablet                  2.141               2.047                 -4.38
mist gastro-lntestrnal                              400 mg          tablet                  0 536               1.034                 93.05
misc. anticonvulsants                               200 mg          tablet                  0.093               0.262                181.24
cardiac                                       1011-75 mn            ta hlat
                                                                    kU”IU.                  nV.-V”
                                                                                               AF;r,            II n7i
                                                                                                                   “I <              1%-l
                                                                                                                                     Icl”. 17
                                                                                                                                           tc
                                              ‘-- -- ‘“3
cardiac                                             100 mg          tablet                  0.390               1.002                157.21
misc. eyes, ears, nose, and throat                        .5%       ophth.                  1.619               2.510                 37.96
antibiotics                                               .3%       ophth.                  0.447               2.480                454.77
hemorrheologic                                      400 mg          tablet                  0.299               0.370                 23.64
contraceptives                                          var.        tablet                  0.083               0.740                788.25
contraceptives                                                      tablet                  0.082               0.767                836.39
benzodiazepines                                       5mg           tablet                  0.039               0.446              1,031.28
cardiac                                              10 mg          tablet                  0.616               0.696                 13.14
sympathomimetic                                2 mgi5 ml            syrup                   0.007               0.051                583.70
non-steroidal anti-inflammatory                   50 mg             tablet                  0.285               0.696                143.97
benzodlazepines                                       .5 mg         tablet                  0.137               0.519                278.18
                                                                                                                               (continued)


                                         Page 39                              GAO/IIEHS-94-29 Prescription    Drug Charges in U.S. and U.K.
Case 1:01-cv-12257-PBS Document 6208-14 Filed 06/29/09 Page 20 of 34


                   Appendix   II
                   DifPerences in Manufacturers’ U.S. and U.K.
                   Prescription Drug Prices (May 1,1992)




                   RankL                           Product                       Manufacturer   or vendor
                   3                               Zantac                        Glaxo
                   52                              Zestril                       Stuart
                   68                              Zovirax cawulesd              Burrouahs   Weltcome




                   Page 40                         GACVHEHS-94-29 Prescription   Drug Charges in U.S. and U.K.
                    Case 1:01-cv-12257-PBS Document 6208-14 Filed 06/29/09 Page 21 of 34


                                      Appendix II
                                      Differencea in Manufmturers’ U.S. and U.K.
                                      Prescription Drug Prices (May I, 1992)




                                                                                          U.K. Unit           U.S. Unit                    Percent
Therapeutic    category                         Strength               Form                   price               price               differenceb
misc. gastro-intestinal                           150 mg               tablet                 0,775                1.228                     58.44
cardiac                                            10 ma               tablet                 0.677                0.612                     -9.58
antivirals                                       200 ma                caosule                1.806                0.691                    -61.74
                                      aProduct’s rank among American DruggIst’s 200 most commonly dispensed                drugs in the United
                                      States in 1991,

                                      bPercent differentials calculated    manually may ddfer due to rounding.

                                      CAnaprox DS (double strength) is listed on the “Top 200 list.” However, we compared the lower
                                      strength Anaprox (275 mg tablet) to its U.K. equivalent because the larger strength was not sold
                                      by the manufacturer in the United Kingdom

                                      dThis drug was sold rn capsules in one country and in tablets In the other.

                                      eThe May 1, 1992, W A C was not listed In Medi-Span MDDE-Select and was obtained directly from
                                      the manufacturer.

                                      ‘Loestrin FE (with Iron) IS Ned on the “Top 200 I~st.”However, we compared the equtvalent drug
                                      wlthout the iron supplement because the version with iron is not sold in the United Ktngdom.

                                      QMerck Sharp and Dohme

                                      hSmith Kline and French Labs

                                      ‘Imperial Chemical Industries.




                                      Page 41                                   GAO/HEHS-94-29 Prescription      Drug Charges in U.S. and U.K.
               Case 1:01-cv-12257-PBS Document 6208-14 Filed 06/29/09 Page 22 of 34
Appendix III

Methodological Issues for International
Prescription Drug Price Comparisons

                                     Previous research has found that prescription drug prices are generally
                                     higher in the United States than in other countries. However, these studies
                                     have been criticized for methodological shortcomings, leading some to
                                     discount their conclusions. Although drug price comparisons seem
                                     straightforward at first glance, undertaking such a comparison requires a
                                     number of complex methodological decisions, For example, two
                                     chemically identical drug products may be manufactured by the same
                                     company in the United States and United Kingdom but nonetheless may
                                     differ in other respects-package size, strength, or form-making
                                     comparisons problematic.

                                     Methodological controversies in drug price comparisons center around
                                     three basic questions:

                                 l   What price concept is being measured?
                                 l   For what sample of drugs are these prices measured?
                                 l   How are the results of this price comparison summarized and presented?

                                     To conduct a price comparison, researchers must take a position on each
                                     of these questions. Our answers to each question, and our reasons for
                                     adopting these positions, cannot be properly understood without
                                     considering the purpose of this study. As our price comparison illustrates,
                                     in comparing drug prices, purpose appropriately influences method.


                                     The Chairman’s request for international drug price comparisons led us to
Purpose of the Study                 compare the manufacturer’s component of the prices paid by the typical
Affects Price Concept                retail consumer in the outpatient market in the United States and in the
Measured                             United Kingdom. Our study focuses on the factory component of the
                                     prices prevailing in the largest segment of the prescription drug market,
                                     rather than the factory component of the average price in the entire
                                     prescription drug market.

                                     In the United Kingdom, sales to the National Health Service dominate the
                                     prescription drug market. By contrast, the U.S. market features many
                                     buyers, and manufacturers’ prices are not uniform across the U.S.
                                     prescription drug market. In the United States, manufacturers often charge
                                     higher prices to wholesalers (who supply the retail pharmacies frequented
                                     by most U.S. consumers) and may give discounts to certain institutional
                                     buyers, like some hospitals and certain health maintenance organizations.
                                     However, the undiscounted portion of the prescription drug market not
                                     only accounts for the majority of U.S. prescriptions dispensed but also



                                     Page 42                   GAOMEHS-94-29 Prescription   Drug Charges in U.S. and U.K.
          Case 1:01-cv-12257-PBS Document 6208-14 Filed 06/29/09 Page 23 of 34


                              Appendix III
                              Methodological Issues for International
                              Prescription Drug Price Comparieons




                              includes the most vulnerable consumers-those who pay out of pocket for
                              prescription drugs. From a manufacturer’s point of view, each price in
                              each segment of its market is relevant to the total picture. However, from
                              the consumer’s point of view, the prices paid by buyers in other markets
                              are irrelevant-the relevant price is the price paid in that consumer’s
                              particular submarket. Our study focuses on price differentials from the
                              point of view of the typical consumer, and for our purposes the relevant
                              market is the market frequented by that consumer. Rather than studying
                              the average revenue a firm receives from sales of a particular drug, we are
                              studying the price the fum charges for drugs in the undiscounted market.’

                              Our study focused on the manufacturer’s role (as opposed to the retailer’s
                              role, for example) in determining prescription drug prices. For this reason,
                              we measured the price that manufacturers charge to the next point of
                              distribution-the factory price. This emphasis on the manufacturer forces
                              another methodological choice-that is, we compared only those drugs
                              manufactured or licensed by the same firm in each country. In practice,
                              this same-manufacturer criterion has the effect of excluding generic drugs
                              from our analysis, because generic drugs are typically manufactured and
                              sold in various countries by different, unaffiliated companies.2


                              After considering the appropriate price measure, we turned our attention
Purpose of Study              to the second issue: For what sample of drugs are these prices being
Suggests Criteria for         measured? Given our focus on the manufacturer’s component of the price
Sampling Decisions            faced by the majority of U.S. consumers, we selected the four specific
                              methodological criteria listed below. These criteria are not given in order
                              of importance.

                          e Because we are looking at the outpatient market from the U.S. consumer’s
                            point of view, our methodology should use the U.S. consumer (rather than
                            the U.K. consumer) as its frame of reference.
                          l “Apples-to-apples” comparisons are ideal; that is, we should compare the
                            same drug, identical in all respects, in the two countries.

                              ‘Although prices prevailing in other market segments are peripheral to our study, comparing U.S.-U.K.
                              prices across all market segments can provide context for our findings. To make this comparison, we
                              used data on the non-federal average manufacturer price. The non-FAMP data represent a weighted
                              average price to the manufacturer for a given time frame and product, taking into account cash
                              discounts or similar price reductions to large buying groups.

                              To explore the implications of this exclusion, we supplemented our comparison of brand-name drug
                              prices with another analysis that accounted for generic drugs. In this analysis, when a generic
                              equivalent was available for a U.S. brand-name drug, we substituted the lowest priced generic for the
                              brand-name product. We did not make similar substitutions for generic drugs in the United Kingdom,
                              so our analysrs provides a measure of the maximum effect of generic substitution for the sample of
                              brand-name drugs we examined.


                              Page 43                             GAOIHEHS-94-29 Prescription Drug Charges in U.S. and U.K.
        Case 1:01-cv-12257-PBS Document 6208-14 Filed 06/29/09 Page 24 of 34

                           Appendix III
                           Methodological issues for International
                           Prescription Drug Price Comparisoua




                         . We should match as many drugs as possible in the United States and the
                           United Kingdom in order to enhance the reliability of our results.
                         . In choosing among methodological options, we should seek to estimate
                           price differentials conservatively. If we must err, we would prefer to
                           underestimate rather than overestimate price differentials if U.S. prices
                           are typically higher than foreign prices.3

                           These goals may conflict. For example, if we considered drugs in different
                           package sizes or strengths to be comparable, we would gain a larger
                           sample size, but we might have sacrificed some strict comparability.


                           Rather than sample from the entire population of prescription drugs, we
Choice of Population       confined our examination, first, to the 200 top-selling drugs in the United
and Sample of Drugs        States, and, secondly, to those drugs in the group for which we could find
                           matches in the United Kingdom. The sample of drugs in our study,
                           therefore, was not selected randomly. We recognize that random samples
                           are preferable for their attractive statistical properties, but the difficulties
                           of collecting a large enough sample of randomly drawn pharmaceutical
                           data were prohibitive.4

                           Nonrandomness, however, is not necessarily a fatal flaw for three reasons.
                           First, the nonrandom sample may hold substantial interest. Just as the
                           Fortune 500-a nonrandom sample of firms-are of interest, so the top
                           200 drugs are of interest. Second, the more dominant a sample is-the
                           greater amount of total drug sales represented by the sample-the less the
                           nonrandomness matters. (The top-selling 200 drugs accounted for
                           54.9 percent of the U.S. prescription drug market in 1991.) Nonetheless,
                           our estimates of U.S.-U.K. drug price differences cannot be generalized
                           beyond the sample we examined.

                           We faced several difficult choices in matching U.S. and U.K. drugs from
                           our sample. Apples-to-apples comparisons are difficult when a U.S. apple




                           aIn statistical terms, this criterion is equivalent to requiring a very high significance level to reject the
                           null hypothesis that U.S. and European drug prices are not significantly different.

                           4Drugs with high sales rankings, for example, tend to be sold in more countries. A random sample of
                           all drugs sold in the United States would include drugs with low sales, for which it would probably be
                           difficult to find matches in the United Kingdom. The resulting sample, while randomly drawn, might be
                           considerably smaller than a nonrandom sample of best-seiling drugs.



                           Page 44                                GAORIEHS-94-29 Prescription          Drug Charges in U.S. and U.K.
            Case 1:01-cv-12257-PBS Document 6208-14 Filed 06/29/09 Page 25 of 34


                              Appendix III
                              Methodological Issues for International
                              Prescription Drug Price Comparieons




                              and a U.K. apple may differ in several respects--such as package size,
                              strength, and form.’


Comparing Chemically          Chemically identical drugs are often produced by the same manufacturer
Identical Drugs When          in different strengths. For example, the same drug may be available in 100
                              mg, 250 mg, 300 mg, or 500 mg in the United States (with 300 mg being the
Different Strengths and       most common) and 150 mg, 250 mg, or 400 mg in the United Kingdom
Forms Are Available           (with 150 mg being the most common). Our options in this case included
                              comparing the most common U.S. strengths with the closest U.K.
                              counterparts and comparing the most common strengths in each country.

                              Our preferred method was to see if the most common U.S. strength was
                              offered in the United Kingdom. If so, we compared the drug in that
                              strength, if not, we looked for a match in another strength. If none of the
                              strengths matched, we dropped the drug from our sample. For this study,
                              comparing drugs with different strengths was less appropriate than
                              comparing drugs with different package sizes because the actual drug, and
                              not just the number of pills in the box, would be different.

                              Similarly, drugs may be available in different forms in the United States
                              than in the United Kingdom. Our options included matching drugs on the
                              basis of number of kilograms of active ingredient or the average daily
                              dose. Because medical practices in each country would influence such
                              comparisons, we did not consider it appropriate for this study to compare
                              drugs that differ in form. If the form of a drug differed in the two
                              countries, we dropped it from our sample.‘j


Package Size Variation Is    Prescription drugs are sold to wholesalers in packages of pills. The
Problematic                  packages may vary in size across countries, with the price per pill differing
                             by package size. Most researchers make price comparisons by computing
                             a price per pill in each country on the basis of a package size sold in that
                             country. The problem then becomes picking the package size to serve as
                             the basis for that calculation. We considered five alternative methods,
                             each with advantages and disadvantages. Based on our four
                             criteria-making an apples-to-apples comparison, increasing our sample
                             size, using the U.S. consumer as the point of reference, and providing a

                             % addition, some drugs may be sold by prescription only in one country and sold over the counter in
                             another. We excluded these drugs from our analysis because the differences in prescription status
                             could make price differentials more difficult to interpret.

                             Thugs in identical strengths may be treated as equivalent if they are prescribed in tablet form in one
                             country and capsule form in another.


                             Page 4E                             GAOMEFIS-94-29 Prescription        Drug Charges in U.S. and U.K.
Case 1:01-cv-12257-PBS Document 6208-14 Filed 06/29/09 Page 26 of 34

                   Appendix III
                   Methodological Issues for International
                   Prescription Drug Price Comparisons




                   conservative estimation procedure-we chose to base the U.S. unit price
                   on the most common package size and to base the U.K. unit price on the
                   closest package size (hut still smaller) to that selected for the United
                   States.

                   For each method we considered, an example can show how the method
                   might work and what its advantages and disadvantages would be. For
                   purposes of our discussion, consider the example of a brand-name drug
                   sold in the United States in package sizes of 500,100, and 60 (100 being the
                   most common) and in the United Kingdom in package sizes of 50,30, and
                   10 (30 being the most common). Following are the five methods we
                   considered:

                   1. Drop all drugs without an equal package size. W ith this method, we
                   would not include any drug that did not have an equal package size in the
                   United States and the United Kingdom. In our example, the drug would be
                   dropped from our study.

                   This method best satisfies our apples-to-apples criterion; that is, this
                   technique achieves the strictest comparability. However, because many
                   drugs are not sold in the same package size in the United States and the
                   United Kingdom, this method would limit our sample size. In addition, if
                   U.S. package sizes are uniformly larger and these larger package sizes
                   represent volume discounting on the part of U.S. fums, then calculating
                   prices on the basis of the smaller package size available in both countries
                   could overstate the U.S.-U.K. price differential.

                   2. Choose the largest package size. W ith this method, a unit price would be
                   calculated for each country on the basis of the largest package size of the
                   drug sold in that country. In our example, this would imply that the U.K.
                   unit price would be calculated based on a package size of 50, and the U.S.
                   unit price would be calculated on the basis of a package size of 500.

                   The method allows us to maintain a larger sample size and allows for the
                   possibility of volume discounts by U.S. firms. However, this technique
                   fares poorly in the apples-to-apples criterion because the package size
                   differences would be large. In addition, this criterion does not use the U.S.
                   consumer as its point of reference in calculating the U.K. price.

                   3. Choose the most common package size. This method involves using the
                   most common package size for each country. For our example, this would




                   Page 46                           GAO/HEW+94-29 Prescription   Drug Charges in U.S. and U.K.
Case 1:01-cv-12257-PBS Document 6208-14 Filed 06/29/09 Page 27 of 34


                  Appendix III
                  Methodological      Issues for International
                  Prescription     Drug Price Comparisons




                  mean that the U.S. unit price would be based on a package size of 100, and
                  the U.K. unit price would be based on a package size of 30.

                  This method may capture potential volume discounts, and it would likely
                  allow us to make more comparisons. However, it has two major
                  disadvantages: it is likely to produce larger package size differences than
                  the following two methods, and it does not use the U.S. consumer as the
                  point of reference.

                 4, Choose the U.K. package size closest to the most common U.S. package
                 size. In this two-step process, we would first base the U.S. unit price on the
                 most common U.S. package size. The U.K. price would be based on the
                 package size closest to, but still smaller than, the most common US.
                 package size. In our example, the most common U.S. package size is 100,
                 and so we would base the U.S. price on a package size of 100. The closest
                 U.K. package size to the most common U.S. size, but still smaller, is 50, so
                 the U.K. unit price would be based on a package size of 50.

                 This method comes closer to equalizing the package sizes than do methods
                 2 and 3, so it rates higher on the apples-to-apples criterion. It uses the U.S.
                 consumer as the point of reference by making the basis for the U.K. price
                 depend on the most common US. package size. It allows for a larger
                 number of comparisons than method 1 and captures the potential for
                 volume discounting.

                 5. Choose U.K. package size closest to the most common U.S. size, then
                 choose U.S. package size closest to that. This approach is a three-step
                 process that resembles method 4. The three steps are (1) take the most
                 common U.S. package size; (2) find the U.K. package size closest to the
                 most common US. size, but sti.Il smaller, and use that as the basis for
                 calculating the U.K. unit price; and (3) for calculating the U.S. unit price,
                 use the U.S. package size closest to the size used to calculate the U.K.
                 price, but still larger. In our example, the most common US. package size
                 was 100. The U.K. package size closest to that but still smaller is 50, so the
                 U.K. unit price will be calculated on the basis of the package size of 50.
                 The U.S. package size closest to the U.K. package size is 60, so the U.S.
                 unit price would be computed on the basis of a package size of 60.

                 This method minimizes package size differences, so it ranks higher on the
                 apples-to-apples criterion than methods 2,3, and 4, while allowing for a
                 larger sample size than does method 1. However, this method does not use
                 the U.S. consumer as the primary point of reference because the U.S. unit



                 Page 47                               GAO/HEHS-94-29 Prescription   Drug Charges in U.S. and U.K.
           Case 1:01-cv-12257-PBS Document 6208-14 Filed 06/29/09 Page 28 of 34

                              Appendix III
                              Methodological Issues for International
                              Prescription Drug Price Compsrisons




                              price is not based on the most common U.S. package size. As an additional
                              drawback, this method has less potential than method 4 to capture volume
                              discounting.

                              The appropriate choice depends on the relative values of the different
                              criteria. If apples-to-apples had been our only consideration, then method
                              1 would have been the appropriate choice. Lf we had also been very
                              concerned about having a large sample size, but less concerned about
                              producing conservative estimates, then method 5 would have been most
                              appropriate.

                              We decided to weigh each of the criteria equally, which induced us to
                              choose method 4. Method 4 ranks high on the criteria of the U.S. consumer
                              as the point of reference and a large sample size; it ranks relatively high on
                              conservative estimation; and it is better than methods 2 and 3 on the
                              apples-to-apples criterion.7


                              Although most of our methodological issues revolved around defining the
Study Focus                   comparability of drugs sold in different countries, we also made choices
Influenced                    about summarizing and presenting our results. Once again, we made these
Presentation of               decisions with reference to the specific purpose of our study.
Results
Converting From One           An unavoidable problem arises when comparing prices from different
Currency to Another           countries: to make any price comparison meaningful, prices must be
                              converted to a common currency (from pounds to dollars, for example).
                              This can be done in two ways--using exchange rates and using purchasing
                              power parities. Our preferred method was to calculate the differential
                              using both methods and report both results. Reporting both results is
                              particularly valuable when exchange rates and PPPS yield significantly
                              different estimates.

Exchange Rates Versus PPPs    Bankers and traders buy and sell one currency for another in international
                              money markets. The price of one currency bounds) in terms of another
                              (dollars) is called the exchange rate. Exchange rates are determined
                              moment by moment in international currency markets by supply and
                              demand.

                              7For practical reasons, for a few drugs we modified our preferred method of matching. In some cases,
                              we matched drugs whose available package sizes in both countries were equal, although this package
                              size was not the most commonly used in the United States. Nonetheless, we found that this
                              modification  had little or no effect on the price differentials for the drugs in question.



                              Page 49                             GAORIEHS-94-29 Prescfiption       Drug Charges in U.S. and U.K.
            Case 1:01-cv-12257-PBS Document 6208-14 Filed 06/29/09 Page 29 of 34


                               Appendix III
                               Methodological Issues for International
                               Prescription Drug Price Comparisons




                               Exchange rates are a frequently used, natural method of converting from
                               one currency to another. Because exchange rates are affected by financial
                               market conditions, however, they can fluctuate a good deal. Variations in
                               exchange rates can increase or decrease the dollar price of a U.K. drug
                               compared with a U.S. drug, even when the drug’s price in pounds has not
                               changed.

                               The PPPmeasure was developed to smooth out fluctuations in exchange
                               rates. The PPP compares overal prices in the two countries. PPPSvary less
                               than exchange rates because they do not depend on financial market
                               conditions; however, the PPPis slower to respond to actual consumer price
                               changes in the home country,

                               While PPPhas the advantage of smoothing out exchange rate fluctuation,
                               drug prices based on PPPare in some sense artificial. While a U.S. drug
                               purchaser could (by exchanging dollars for pounds at the prevailing
                               exchange rate) buy a drug in the United Kingdom at the price on the basis
                               of exchange rates, prices based on PPPS are not actual market transaction
                               prices. Neither the exchange rate nor the PPPhas an unambiguous
                               theoretical advantage over the other; that is, neither is more correct to use
                               for our purposes. Therefore, we chose to report both results.


Summarizing Price              The preferred method of summarizing price differences for many drugs is
Differences for Many           to construct a price index, which shows how the average price of a bundle
Different Drugs                of goods differs across countries. There are several possible methods for
                               constructing such a price index. Each method involves two maor
                               methodological decisions:

                           l   The researcher must choose which country to use as the basis for
                               comparison. That is, the researcher must answer one of two questions:
                               (1) How much more expensive are drugs in country X compared with
                               country Y? or (2) How much cheaper are drugs in country Y compared
                               with country X?
                           l   The researcher must choose how to weight the individual goods in the
                               bundle.

                               Because our methodological criteria specified that we use the U.S.
                               consumer as the point of reference, the answer to the first question was
                               simple: we would examine how much cheaper or more expensive drugs
                               are in the United States than in the United Kingdom.




                               Page 49                         GAO/HEHS-94-29 Prescription   Drug Charges in U.S. and U.K.
        Case 1:01-cv-12257-PBS Document 6208-14 Filed 06/29/09 Page 30 of 34

                           Appendix III
                           Methodological Issues for International
                           Prescription Dmg Price Comparisons




                           Choosing how to weight the goods in the bundle can be more problematic.
                           Ideally, drugs that are more often prescribed would be assigned greater
                           importance. The prices of such popular drugs would have a greater effect
                           on the average consumer than the prices of less common medications;
                           thus popular drugs deserve more emphasis in a price index measure. To
                           assign more weight to the more popular drugs, a measure of each drug’s
                           popularity is needed.

                           We chose to weight drugs based on quantities sold. This weighting scheme
                           achieves the goal of weighting the more popular drugs more heavily in a
                           price index. Three quantity-weighted price indexes are possible:
                           (1) weights based on quantities sold in the United States, (2) weights
                           based on quantities sold in the United Kingdom, and (3) weights based on
                           both U.S. and U.K. quantities. Given our emphasis on the U.S. consumer,
                           we chose to weight drugs based on the quantities sold in the United States.

                           Specifically, we calculated the cost of the U.S. market basket as follows:


                             77
                               USPRICEl wi
                            c
                            1=1

                           In this formula, USPR1CE~is the U.S. factory price of drug i, and wi is a
                           volume weight for drug i. (This weight is calculated by dividing the
                           number of units (for example, pills or capsules) of drug i sold in the
                           United States in 1992 by the total number of units of all 77 drugs in our
                           sample sold in the United States in 1992.)

                           We calculated the cost of the U.K. market basket as follows:


                             77
                            c iJKPRICEi wi
                            i=l

                           In this formula, UKPRICE, is the U.K. factory price of drug i.


                           A rigorous, appropriate, and feasible methodology is necessary for
Conclusion                 meaningful international drug price comparisons. However, good price



                           Page SO                          GAO/AEHS-94-29 Prescription   Drug Charges in U.S. and U.K.
Case 1:01-cv-12257-PBS Document 6208-14 Filed 06/29/09 Page 31 of 34

                   Appendix III
                   Methodological Issues for International
                   Prescription Drug Price Compsrisons




                   comparisons require confronting many difficult methodological decisions.
                   We submitted our methodology to U.K. government officials,
                   pharmaceutical industry representatives, and academic researchers and
                   incorporated their comments as appropriate.




                  Page 61                          GAO/HEW+94-29 Prescription   Drug Charges in U.S. and U.K.
              Case 1:01-cv-12257-PBS Document 6208-14 Filed 06/29/09 Page 32 of 34

Appendix IV

Major Contributors to This Report


                                 Jonathan Ratner, Assistant Director, (202) 512-7123
Human Resources                  David Gross, Assignment Manager
Division,                        Sarah Glavin, Economist
                                 Claude Hayeck, Evaluator
Washington, D.C.
Detroit Regional           1
                                 George Duncan, Evaluator
Office




 (101234)                         Page 52                   GAO/HEHS-94-29 Prescription   Drug Charges in U.S. and U.K.
Case 1:01-cv-12257-PBS Document 6208-14 Filed 06/29/09 Page 33 of 34




                   Ordering      Information

                   The first copy of each GAO report and testimony is free.
                   Additional  copies are $2 each. Orders should be sent to the
                   following address, accompanied by a check or money order
                   made out to the Superintendent    of Documents, when
                   necessary. Orders for 100 or more copies to be mailed to a
                   single address are discounted 25 percent.

                   Orders      by mail:

                   U.S. General Accounting Office
                   P.O. Box 6015
                   Gaithersburg, MD 20884-6015

                   or visit:

                   Room 1000
                   700 4th St. NW (corner of 4th and G Sts. NW)
                   U.S. General Accounting  Office
                   Washington,  DC

                   Orders may also be placed by calling (202)   512-6000
                   or by using fax number (301) 258-4066.
            Case 1:01-cv-12257-PBS Document 6208-14 Filed 06/29/09 Page 34 of 34



United States
General Accounting    Office
Washington,   D.C. 20548




Address   Correction   Requested
